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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
                v.                          )    Civil Action No.
                                            )    1:16-cv-03088-ELR
    STATE OF GEORGIA,                       )
                                            )
                      Defendant.            )
                                            )




        UNITED STATES’ REPLY BRIEF IN FURTHER SUPPORT OF ITS
             MOTION FOR PARTIAL SUMMARY JUDGMENT




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      Plaintiff United States of America (“United States”) respectfully submits this

Reply Brief in Further Support of its Motion for Partial Summary Judgment.

                                 INTRODUCTION

      At the heart of the United States’ Complaint in this case are the allegations,

summarized and quoted in this Court’s prior opinion, that “[e]ven though mental

health and therapeutic educational services and supports can be provided in

integrated general education classrooms, the State, including GaDOE [Georgia

Department of Education], has selected to plan, fund, administer, license, manage

and oversee those services almost exclusively in segregated GNETs centers and

classrooms.” 461 F. Supp. 3d 1315, 1322 (N.D. Ga. 2020). This decision by the

State violates Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C

§ 12132 et seq., and its implementing regulation, 28 C.F.R. § 35.130(d), which

provides that “a public entity shall administer services, programs, and activities in

the most integrated setting appropriate to the needs of qualified individuals with

disabilities.” 28 C.F.R. § 35.130(d) (emphasis added).

      In a motion to dismiss filed at the pleadings stage of this litigation, the State

of Georgia (“State”) asserted that “to plead a Title II claim, [the United States] must

allege that the State ‘administers’ public services in a discriminatory or unequal

manner.” ECF No. 47-1 at 10 (quoting 28 C.F.R. § 35.130). The State then argued

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that “[t]he [United States’] Complaint fails to state an ADA claim, because . . . the

State does not administer the GNETS program.” Id. at 10-11. Confronted with

overwhelming record evidence demonstrating that it does—in fact—supply the

GNETS Program with “practical management and direction,” the State now

abandons its prior position that this Court should apply the plain meaning of the term

“administer” in determining whether the State administers the GNETS Program, see

id. at 11, and instead contends that because the term “administer” appears only in

the Title II implementing regulation and not in the ADA itself, that previously-

asserted plain meaning is invalid. Def. Mem. at 22. The proper question, the State

argues, is not whether the State administers the GNETS Program but whether it

“provides” GNETS services. Id. at 23. The State further argues that even if the

proper question is whether the State administers the GNETS Program, the record

evidence requires this Court to answer that question in the negative.           These

arguments are without merit.

                                   ARGUMENT

I.    A PUBLIC ENTITY THAT “ADMINISTERS” SERVICES,
      PROGRAMS, AND ACTIVITIES IN A DISCRIMINATORY MANNER
      CAN BE HELD LIABLE UNDER TITLE II OF THE ADA.

      Despite its prior acknowledgement that 28 C.F.R. § 35.130 governs the

United States’ claim that the State has violated Title II’s integration mandate, as

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well as its insistence that “administer” should be construed in accordance with its

plain meaning as “‘manage and be responsible for the running of’” and “‘practical

management and direction,’” ECF 47-1 at 10-12, the State now contends that

“administer” can only be construed to mean “provide.” Def. Mem. at 23-25 &

n.13. The State further contends that because it does not directly “provide”

GNETS services, it cannot be held liable under the ADA for discrimination arising

from the operation of the GNETS Program. 1 See id. at 28-30. These contentions

lack merit.

      The State does not identify a single ADA case supporting its theory that the

Title II regulation’s use of the word “administer” is invalid because that word does

not appear in the ADA itself. Instead, it relies on a handful of inapposite cases that




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        The State also argues that the United States’ Motion for Partial Summary
Judgment should be denied because the United States failed to define the term
“administer” in its brief. See Def. Mem. at 22. The State’s argument
mischaracterizes the record. Because this Court considered the State’s
administration of the GNETS Program twice at the pleadings stage, the United
States adopted the framework for administration outlined in this Court’s decisions
denying the State’s Motion to Dismiss and Motion for Judgment on the Pleadings.
While the United States asserted in its brief that the evidence gathered in discovery
confirms the factual accuracy of the allegations this Court found sufficient to
establish the State’s administration, it also made clear that the record evidence
similarly establishes the State’s administration of GNETS using the plain meaning
definitions of “administer” advanced by the State in its Motion to Dismiss. See
U.S. Mem. at 25-27 & n.65.
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it contends establish that “regulations, in order to be valid, must be consistent with

the statute under which they are promulgated.” Def. Mem. at 23 (internal

quotation marks omitted). The State’s assertion that ADA liability attaches only to

the entity directly providing the relevant services, programs, or activities is

inconsistent with the well-established principle that a state can be held liable under

the ADA even when it has contracted out provision of the challenged services,

programs, or activities. See, e.g., Price v. Shibinette, No. 21-cv-25, 2021 WL

5397864, at *9-10 (D.N.H. Nov. 18, 2021) (a state cannot avoid liability under the

integration mandate by “contracting out to private entities their obligation to

provide services in compliance with the ADA”); Disability Advocs., Inc. v.

Paterson, 598 F. Supp. 2d 289, 316-19 (E.D.N.Y. 2009) (“The State cannot evade

its obligation to comply with the ADA by using private entities to deliver . . .

services.”); see also Conn. Office of Prot. & Advoc. for Persons with Disabilities v.

Connecticut, 706 F. Supp. 2d 266, 276-77 (D. Conn. 2010); Joseph S. v. Hogan,

561 F. Supp. 2d 280, 286-87, 293 (E.D.N.Y. 2008); cf. 28 C.F.R. § 35.130(b)(1),

(3) (public entities may not discriminate “directly or through contractual . . . or

other arrangements”).

      For the reasons stated, this Court need not—and should not—construe the

term “administer” to mean “provide.” Doing so would give public entities license

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to willfully violate Title II by outsourcing discriminatory practices to contractors—

a result Congress clearly did not intend when passing the ADA.

II.   THE UNDISPUTED FACTUAL RECORD SATISFIES THE
      STANDARD FOR STATE CONTROL AND ADMINISTRATION
      PREVIOUSLY OUTLINED BY THIS COURT.

      Contrary to the State’s arguments, the undisputed evidence establishes that

the State administers the GNETS Program within the meaning of Title II of the

ADA. In assessing the State’s contention—at the pleadings stage—that it does not

administer the GNETS Program, this Court closely examined the United States’

allegations, the arguments outlined in the parties’ briefs, the text of the ADA and its

implementing regulation, and relevant caselaw before concluding that “it appears

that the State is authorized, and does in fact exercise, some level of control over

state-funded programs such as the GNETS program.” 461 F. Supp. 3d at 1321.

State law, as this Court noted, requires the State to “adopt” both ‘‘‘classification

criteria for each area of special education to be served on a state-wide basis’ and

‘the criteria used to determine eligibility of students for state funded special

education programs.’ Ga. Code Ann. § 20-2-152(a).” 461 F. Supp. 3d at 1321.

Because the United States had specifically alleged that “[GaDOE] oversees

GNETS by establishing criteria for the implementation of the program in local

school districts, by disbursing federal and state funds to support the program, by


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promulgating regulations to carry out the program, and by overseeing the

operations and implementation of the program throughout the state,” this Court

found the allegations in the Complaint adequate to survive the State’s motion to

dismiss and motion for judgment on the pleadings. Id. at 1320-21; see also ECF

No. 94 at 8-11 (denying the State’s motion for judgment on the pleadings and

finding allegations in the Complaint that the State “plans, funds, administers,

licenses, manages and oversees the GNETS Program,” sets student eligibility

criteria for GNETS services and designates State employees to oversee the

Program, determines which mental health and therapeutic educational services and

supports will be provided (and by whom and where), and determines how it will

allocate and manage State and federal funds earmarked for such services sufficient

to demonstrate at the pleadings stage “that actions within the State’s control, not

solely local measures, cause the alleged discrimination”).

      The United States’ Motion for Partial Summary Judgment (“U.S. Mot.”) and

its Memorandum in Support (“U.S. Mem.”) set forth the extensive undisputed

evidence obtained in discovery, which shows the absence of any material issue of

fact regarding the allegations that this Court found sufficient to demonstrate State

control and administration at the pleadings stage. That evidence confirms that: (1)

the State of Georgia exercises substantial control over GNETS Program operations

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through the State GNETS Rule, which binds each of the 24 regional GNETS

programs, dictates the duties and responsibilities the State has imposed on each of

the entities assigned a role in the Program, and sets student eligibility criteria,

among other things (U.S. Mem. at 6-7, 27-28); (2) the State of Georgia develops,

directs, and assesses regional GNETS programs’ compliance with GNETS

Program operating standards using the GNETS Strategic Plan self-assessment and

review process and other State-created documents—including the Consideration of

Services forms that guide regional GNETS programs’ consideration of students for

services2 (U.S. Mem. at 9-14, 29-32); (3) the State of Georgia directs regional

GNETS programs on a host of day-to-day matters involving student eligibility and

service delivery (U.S. Mem. at 15-16, 32); (4) the State of Georgia funds the vast

majority of GNETS Program expenses through the State GNETS grant,

particularly expenses related to the therapeutic aspects of the Program, and

controls the information and assurances regional GNETS programs, their fiscal




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        The State contends that these “forms are irrelevant to [the United States’]
Motion, as it does not challenge the entry criteria as inherently discriminatory or
relevant to IEP Team recommendations to refer students for GNETS Program
services.” Def. Mem. at 16. Because the United States seeks partial summary
judgment only as to the State’s administration of the GNETS Program, the United
States need not establish at this stage that any entry criteria included in the forms
are discriminatory or relevant to IEP team recommendations.
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agents, and local education agencies must provide in order to receive that grant

funding (U.S. Mem. at 16-19, 33-34); and (5) the State of Georgia provides

funding separate from the GNETS grant for other services for regional GNETS

programs and, in so doing, plays a substantial role in determining the purported

therapeutic services that particular programs may offer, the staff providing those

services, and other available services and supports like academic and behavioral

assessments (U.S. Mem. at 20-21, 34).

      Nothing in the State’s opposition brief seriously challenges these facts.

Most critically, the State does not dispute that it has promulgated the GNETS

Rule, which was revised and reissued during the pendency of this lawsuit and

which codifies the State’s control over the GNETS Program’s structure,

operations, and funding. See ECF No. 434-1 at ¶ 16. Not only does the GNETS

Rule explicitly set the student eligibility criteria for GNETS, it also requires the

State Board of Education—in concert with GaDOE—to monitor GNETS to

ensure compliance with Federal and State policies, procedures, rules and the

delivery of appropriate instructional and therapeutic services. See Ga. Comp. R.

& Regs 160-4-7-.15(5)(a). In the service of such monitoring, the State employs a

full-time GNETS Program Manager and GNETS Program Specialist who are

exclusively dedicated to overseeing the State’s responsibilities related to the

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GNETS Program. See ECF No. 434-1 at ¶ 33.3 The State also has an

overarching strategic plan for GNETS, which it periodically revises, that

addresses all areas of Program operations and binds regional GNETS programs.

See id. at ¶¶ 49, 52, 53; see also Ga. Comp. R. & Regs 160-4-7-.15(5)(c)(2)-(3).

Using a State-created framework, the regional programs must conduct twice-

annual assessments of their compliance and submit to strategic plan reviews

conducted by the State. See ECF No. 434-1 at ¶¶ 62-76.4



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         Although the State objects to the United States’ assertion that “GaDOE
employs both a GNETS Program Manager and GNETS Program Specialist who
oversee the State’s responsibilities related to the GNETS Program,” it provides no
citations to evidence refuting this factual assertion as required by Local Rule
56.1(B)(2)(a)(2). See ECF No. 434-1 at ¶ 33. Accordingly, the factual assertion
remains undisputed.
       4
         The State provides no evidence sufficient to refute the extensive evidence
the United States gathered in discovery demonstrating that regional GNETS
programs are required to comply with the Strategic Plan and participate in the
Strategic Plan self-assessment and review process. This Court should dispense
with the State’s bald assertion that this evidence is immaterial to the issue of the
State’s control and administration of the GNETS Program, as it plainly
demonstrates the practical management and direction that the State provides to
regional GNETS programs. See, e.g., ECF No. 434-1 at ¶¶ 62-76. To the extent
the State attempts to refute evidence showing that regional GNETS programs must
comply with the Strategic Plan by citing evidence that “a Program can still be
funded by the grant even if the goals in the Strategic Plan are not met,” and that
“the State does not take any action beyond providing feedback and suggestions”
when a regional program is not meeting Strategic Plan goals, see, e.g., ECF No.
434-1 at ¶¶ 62-64, its efforts are futile. That the State chooses to fund a regional
program even when the Strategic Plan goals are not met says a great deal about its
poor oversight over the GNETS Program, but nothing of its authority to withhold
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      The State advances several arguments intended to convince this Court that

the State does not control and administer the GNETS Program, despite the

evidence outlined in the United States’ Motion for Partial Summary Judgment.

None are persuasive. While the State emphasizes that local entities’ participation

in the State’s GNETS grant program is entirely “voluntary,” this does not diminish

the United States’ showing of State control and administration. Def. Mem. at 6,

32. The State controls not only the structure of the GNETS Program—which

participating entities inherit—but also the operating standards and other

requirements to which those entities are held. Accordingly, however voluntary the

decision to participate, once that decision is made, a participating entity is subject

to the State’s substantial authority over the GNETS Program in the myriad ways

described in the United States’ Motion for Partial Summary Judgment.

      Although the State asserts that “LEAs who cho[o]se to apply for and receive

GNETS Grants are given broad discretion on where they can provide services,

ranging from fully integrated to wholly separate settings” (Def. Mem. at 6), this




funding. The State does, in fact, possess such authority. As a former State Board
of Education member testified, the State has exercised its authority to put a pause
on regional GNETS programs’ funding when those programs fail to comply with
their responsibilities. See Deposition of Larry Winter 19:7-20:6, 158:3-159:11,
166:5-168:8 (attached hereto as Exhibit 1).
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argument is unavailing. The GNETS Rule specifies the environments in which

GNETS services may be delivered, which range from “the general education

setting in the student’s Zoned School or other public school” at one end of the

spectrum to a full school day in “a facility dedicated to GNETS” at the other end of

the spectrum. Ga. Comp. R. & Regs 160-4-7-.15(4)(c). While regional GNETS

programs theoretically have the ability to deliver GNETS services across this full

range of environments, the State has adopted a funding formula for regional

GNETS programs that does not include, as a factor in determining funding, the

number of students for whom a regional GNETS program provides “consultative”

services in the general education setting—that is, GNETS services directly to a

student or that student’s teacher or paraprofessional in the general education

setting. See GA00347596 (attached hereto as Exhibit 2); Deposition of Cassandra

Holifield (“Holifield Dep.”) 276:19-281:9 (attached hereto as Exhibit 3);

Deposition of Whitney Braddock 69:2-12 (attached hereto as Exhibit 4). In other

words, regional GNETS programs receive State funding only for students that they

serve in segregated settings, not students they serve in general education settings.

      The State’s failure to supply regional GNETS programs with funding to

provide services in general education environments deprives the programs of the

financial resources necessary to retain sufficient staff to support students who can

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be served in integrated educational environments while also supporting students

who remain in segregated GNETS environments. See Ex. 2; Ex. 3, Holifield Dep.

277:9-281:9. As one regional GNETS director explained, “[Y]ou’re robbing Peter

to pay Paul. If you have the most significant kids in the program because of their

mental health and behavioral challenges, but then we’re also wanting to provide

those services to the kids in the [least restrictive environment] so we won’t have

recidivism, them coming back and getting those teachers trained, you can’t [d]o

both with the same person effectively.” Ex. 3, Holifield Dep. 280:1-281:9. Not

surprisingly, testimony from regional GNETS directors indicates that regional

programs provide consultative services in the general education environment

infrequently. See, e.g., Deposition of Talithia Newsome 202:13-207:13 (attached

hereto as Exhibit 5); Deposition of Celest Ngeve 25:9-28:15 (attached hereto as

Exhibit 6); Deposition of Patricia Wolf Dep. 77:15-22, 182:3-7 (attached hereto as

Exhibit 7). In light of these facts, this Court should reject the State’s contention

that it has no hand in the location where GNETS services are provided.5



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        The State’s argument that it has no hand in the location where GNETS
services are provided is also belied by record evidence establishing the State’s role
in approving the facilities where regional GNETS programs are permitted to
provide services. See U.S. Mot. Ex. 1, Def. Resp. to RFA Nos. 81, 87, 89, 90; id.
Exs. 100, 102-105; id. Ex. O, W. Jones Dep. 189:4-190:6, 193:1-194:25; id. Ex. K,
Keith Dep. 226:16-229:22, 230:14-232:18; id. Ex. Y, Rowland Dep. 80:21-82:2,
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      Also unavailing is the State’s argument that it does not control or administer

the GNETS Program because “[t]he State does not staff and cannot control the

individuals who administer or teach students receiving services through the

GNETS Programs.” Def. Mem. at 6. As noted above, the State employs a full-

time GNETS Program Manager and GNETS Program Specialist who oversee the

State’s responsibilities with respect to the GNETS Program and play a significant

role in the State’s administration of the Program. Further, even though the

personnel who staff the regional GNETS programs are employed by LEAs or

Regional Education Service Agencies (“RESAs”) affiliated with each regional

GNETS program, the State indirectly influences staffing at regional GNETS

programs through the assurances that GaDOE requires each fiscal agent, regional

GNETS program itself, and participating school district’s superintendent and

special education director to sign. See, e.g., U.S. Mot. Ex. 91. It is immaterial that

the State does not directly hire, employ, evaluate, or fire personnel assigned to

regional GNETS programs. The State nonetheless holds regional GNETS program

staff accountable through the GNETS Strategic Plan self-assessment and review




83:5-88:1, 94:4-96:13, 111:21-116:9, 145:7-146:20; see also id. Ex. R, Braddock
Dep. 219:21-220:23, 221:17-222:2, 222:15-22, 225:10-226:6.
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process, as well as the wide range of program data it requires regional GNETS

programs to report. See U.S. Mem. at 8-13, 14-15, 29-32.

      In those instances where it supplies additional therapeutic services grant

money to regional GNETS programs—a circumstance affecting nearly half of all

regional programs6—the State is more directly involved in staffing. There, the

State establishes the approved staffing agencies and/or professional qualifications

that regional GNETS programs receiving therapeutic grants must use when hiring

grant-funded therapeutic staff. See U.S. Mot. Exs. 118, 120, 126-128; id. Ex. K,

Keith Dep. 140:8-143:5, 153:7-155:6; id. Ex. W, Neal Dep. 80:6-83:8; id. Ex. Q,

Wolf Dep. 141:6-144:2, 144:19-145:19, 147:13-149:2. The State has even

supplied regional GNETS programs with draft job responsibilities for particular

positions, which regional GNETS programs have subsequently used to formulate

job descriptions. See U.S. Mot. Ex. 128; id. Ex. Q, Wolf Dep. 147:13-149:2.

      Finally, although the State asserts that regional GNETS program fiscal

agents “have discretion under the law to decide how to spend the GNETS grant

funds,” Def. Mem. at 19 (emphasis in original), undisputed evidence shows that

the State cabins that discretion. Each year, regional GNETS programs must submit




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          ECF No. 430-1 at ¶ 355.
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their budgets to GaDOE in connection with their applications for GNETS grant

funds and have those budgets approved. See U.S. Mot. Ex. 7; id. Ex. A, Cleveland

Dep. 158:24-159:10, 159:20-161:5, 208:9-210:4; id. Ex. S, Gilchrist Dep. 245:6-

16; id. Ex. T, Holifield Dep. 104:10-106:18; id. Ex. J, McCollum Dep. 107:4-

109:8; 214:9-22; id. Ex. C, Stevenson Dep. 149:4-150:5. In addition, the

assurances that GaDOE requires regional GNETS programs, their fiscal agents,

and local education agencies to provide in order to receive those funds impose

additional limitations on the entities’ use of the funds. For example, the assurances

require that “[f]unds will not be spent for any purpose not included in the approved

[fiscal year] GNETS budget,” “GNETS Program budget amendments will be

submitted when expenditures in a function category exceed 125% of the approved

amount,” and “[p]rior to expending state or federal GNETS grant funds to purchase

any equipment that (1) has a useful life of two or more years and (2) would be

purchased with $1,000 or more of state grant funds or $5,000 or more in federal

grant funds, the GNETS Program shall submit a purchase request to GaDOE for

approval” See, e.g., Pl. Mot. Ex. 91 at GA00054563-GA00054566.

      For the reasons set forth above, the undisputed facts confirm rather than

dispel the State’s control and administration of the GNETS Program.




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III.    THE STATE CONTROLS THE BROADER BEHAVIORAL HEALTH
        SERVICE DELIVERY SYSTEM OF WHICH GNETS IS A
        COMPONENT.

        The State argues that the United States “does not challenge or identify [the]

services” that are administered by other State agencies, such as the Department of

Behavioral Health and Developmental Disabilities (“DBHDD”) and the

Department of Community Health (“DCH”), or “identify any student receiving

services through the GNETS Programs that qualifies for services DBHDD actually

administers.” Def. Mem. at 10. These arguments reveal a significant blind spot in

the State’s understanding of the United States’ claims: the State, through its

constituent agencies GaDOE, DBHDD, and DCH, administers a service delivery

system that unnecessarily segregates students with behavior-related disabilities

from their peers and deprives them of equal educational opportunities. It is

through this service delivery system that students in, or at risk of placement in, the

GNETS Program should be receiving the mental health and therapeutic educational

services and supports that they are entitled to under the ADA.

        The State’s contention that the United States has not challenged or identified

the role of DBHDD and DCH—or the services that they provide—in connection

with the State’s role in administering the GNETS Program is unfounded. When

this lawsuit was filed, the United States alleged, among other things, that DBHDD

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“is responsible for many of the supports and services that are needed by students

with disabilities placed in GNETS” and that “[m]any mental health and therapeutic

educational services and supports, including services and supports provided

through the GNETS Program, are reimbursable through the EPSDT program that is

administered by DCH.” ECF No. 1 at ¶¶ 27, 28.

      The factual record now fully supports these allegations, as detailed in the

United States’ Motion for Partial Summary Judgment. See U.S. Mem. at 4-6, 24-

25. In particular, the State is required to develop “a coordinated system of care so

that children and adolescents with emotional disturbance and their families will

receive appropriate educational, nonresidential and residential mental health

services.” Ga. Code Ann. § 49-5-220(a)(6). The State discharges this obligation

by providing a variety of services and supports that are planned, administered, and

funded by State agencies, including DBHDD, DCH, and GaDOE. As Georgia’s

designated state authority for behavioral health services, DBHDD oversees and

administers policies, programs, and services for people with mental illness,

including—through the Office of Children, Young Adults and Families—children

with behavior-related disabilities. Ga. Code Ann. § 37-1-20; see also Ga. Code

Ann. § 37-1-21; U.S. Mot. Ex. E, Deposition of Frank Berry (“Berry Dep.”)

165:11-166:13, 184:21-25; id. Ex. F, Deposition of Judith Fitzgerald (“J. Fitzgerald

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Dep.”) 52:21-53:19; 62:2-16. In that capacity, DBHDD plays a vital role in

making behavioral health services accessible to children across Georgia in their

own communities, including children in, or at risk of being placed in, GNETS.

Further, many mental health and therapeutic educational services and supports are

reimbursable through the State’s Medicaid and PeachCare for Kids programs,

which are administered by DCH. See generally U.S. Mot. Ex. 9 (PeachCare for

Kids website); id. Ex. E, Berry Dep. 164:18-166:13.

      The school-based behavioral health services provided through the Georgia

APEX Program illustrate the kind of services that DBHDD funds and

administers—though DBHDD precludes students in GNETS standalone facilities

from receiving those services. See Pl. Mot. Ex. 10; id. Ex. F, J. Fitzgerald Dep.

62:17-63:8; id. Ex. G, Deposition of Lisa Futch 303:17-305:5; id. Ex. H,

Deposition of Dante McKay 158:2-16.

      In short, the State operates a delivery system that, although it specifically

offers and covers services and supports intended for children with emotional and

behavioral disabilities, overwhelmingly fails to deliver such services to students in

the GNETS Program in integrated settings appropriate to their needs.




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                                 CONCLUSION

      For the reasons set forth above and the reasons outlined in the United States’

Motion for Partial Summary Judgment and Memorandum in Support, the United

States respectfully requests that this Court grant its Motion for Partial Summary

Judgment.




Dated: November 27, 2023

Respectfully submitted:

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                          L.R. 7.1(D) CERTIFICATION

        I certify that this Statement of Undisputed Material Facts has been prepared

with one of the font and point selections approved by the Court in Local Rule

5.1(C). Specifically, this brief has been prepared using 14-pt Times New Roman

Font.



                                              /s/ Kelly Gardner Womack
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                            CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the foregoing document with the Clerk

of Court using the CM/ECF system, which automatically sent counsel of record e-

mail notification of such filing.

                                             This 27th day of November, 2023.



                                             /s/ Kelly Gardner Womack
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